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                           Exhibit A Page 1 of 5



                                   Exhibit A

                         Certification under Guidelines
Case:17-03283-LTS Doc#:2053-1 Filed:12/15/17 Entered:12/15/17 19:19:26                                           Desc:
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                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF PUERTO RICO
     ---------------------------------------------------------------x
     In re:                                                               PROMESA
                                                                          Title III
     THE FINANCIAL OVERSIGHT AND
     MANAGEMENT BOARD FOR PUERTO RICO,
                                                                          No. 17 BK 3283-LTS
              as representative of
     THE COMMONWEALTH OF PUERTO RICO, et al., (Jointly Administered)
                                Debtors.1
     ---------------------------------------------------------------x
     In re:
                                                                          PROMESA
     THE FINANCIAL OVERSIGHT AND                                          Title III
     MANAGEMENT BOARD FOR PUERTO RICO,
                                                                          Case No. 17 BK 4780-LTS
              as representative of
     PUERTO RICO ELECTRIC POWER AUTHORITY, This Application relates only to
                                                                      PREPA, and shall be filed in the
                                Debtor.                               lead Case No. 17 BK 3283-LTS,
                                                                      and PREPA’s Title III Case
                                                                      (Case No. 17 BK 4780-LTS)
     ---------------------------------------------------------------x

                  CERTIFICATION UNDER GUIDELINES FOR
              FEES AND DISBURSEMENTS FOR PROFESSIONALS IN
         RESPECT OF FIRST INTERIM FEE APPLICATION OF PROSKAUER
         ROSE LLP FOR COMPENSATION FOR SERVICES RENDERED AND
      REIMBURSEMENT OF EXPENSES INCURRED AS ATTORNEYS FOR THE
     FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO,
     AS REPRESENTATIVE OF THE DEBTOR, PUERTO RICO ELECTRIC POWER
    AUTHORITY, FOR THE PERIOD JULY 2, 2017 THROUGH SEPTEMBER 30, 2017

1
    The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four (4)
    digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico
    (Bankruptcy Case No. 17 BK 3283- LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
    Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax
    ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-
    LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
    Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal
    Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-
    LTS) (Last Four Digits of Federal Tax ID: 3747). (Title III case numbers are listed as Bankruptcy Case numbers
    due to software limitations).
Case:17-03283-LTS Doc#:2053-1 Filed:12/15/17 Entered:12/15/17 19:19:26                                  Desc:
                           Exhibit A Page 3 of 5



          Pursuant to the United States Trustee Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in

Larger Chapter 11 Cases issued by the Executive Office for the United States Trustee, 28 CFR

Part 58, Appendix B (the “Guidelines”), together with the Local Rule 2016-1, the undersigned, a

Partner of the firm Proskauer Rose LLP (“Proskauer”), attorneys for the Financial Oversight and

Management Board for Puerto Rico (the “Oversight Board”) as representative of the Puerto Rico

Electric Power Authority (the “Debtor”), pursuant to section 315(b) of the Puerto Rico

Oversight, Management, and Economic Stability Act (“PROMESA”), 2 hereby certifies with

respect to Proskauer’s first interim application for allowance of compensation for services

rendered and reimbursement of expenses incurred with respect to the Debtor’s Title III case,

dated December 15, 2017 (the “Application”),3 for the period from July 2, 2017 through and

including September 30, 2017 (the “Compensation Period”) as follows:

          1.       I am the professional designated by Proskauer in respect of compliance with the

Guidelines and Local Rule 2016-1.

          2.       I make this certification in support of the Application for interim compensation

and reimbursement of expenses incurred during the Compensation Period in accordance with the

Guidelines and Local Rule 2016-1.

          3.       In respect of the Guidelines and Local Rule 2016-1, I certify that:

                   a. I have read the Application;

                   b. to the best of my knowledge, information, and belief formed after reasonable

                       inquiry, the fees and disbursements sought fall within the Guidelines;



2
    PROMESA has been codified in 48 U.S.C. §§ 2101-2241.
3
    Capitalized terms used but not defined herein have the meanings given to them in the Application.

                                                          2
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               c. except to the extent that fees or disbursements are prohibited by the

                   Guidelines, the fees and disbursements sought are billed at rates in accordance

                   with practices customarily employed by Proskauer and generally accepted by

                   Proskauer’s clients; and

               d. in providing a reimbursable service, Proskauer does not make a profit on that

                   service, where the service is performed by Proskauer in house or through a

                   third party.

       4.      I certify that Proskauer has previously provided monthly statements of

Proskauer’s fees and disbursements by filing and serving monthly statements in accordance with

the Interim Compensation Order (as defined in the Application), except that completing

reasonable and necessary internal accounting and review procedures may have, at times,

precluded filing fee statements within the time periods specified in the Order.



                              [Remainder of Page Intentionally Left Blank]




                                                 3
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                           Exhibit A Page 5 of 5




Dated: December 15, 2017                  Respectfully submitted,
       San Juan, Puerto Rico
                                          /s/ Ehud Barak

                                          Martin J. Bienenstock (pro hac vice)
                                          Paul V. Possinger (pro hac vice)
                                          Ehud Barak (pro hac vice)
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                                      4
